 Case 20-42257          Doc 135       Filed 08/13/21 Entered 08/13/21 09:13:40                 Desc Main
                                       Document     Page 1 of 3


Joyce W. Lindauer
State Bar No. 21555700
Kerry S. Alleyne
State Bar No. 24066090
Guy H. Holman
State Bar No. 24095171
Joyce W. Lindauer Attorney, PLLC
1412 Main St., Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
ATTORNEYS FOR DEBTOR

                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

IN RE:                                                  §
                                                        §
FRISCO ACQUISITION, LLC,                                §             CASE NO. 20-42257-btr
                                                        §             Chapter 7
        Debtor.                                         §

              DEBTOR’S MOTION TO STRIKE MOVANTS’ SUPPLEMENTAL
             AUTHORITIES IN SUPPORT OF AMENDED MOTION FOR RELIEF
               FROM STAY TO PURSUE NON-BANKRUPTCY LITIGATION

TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

        Comes now Frisco Acquisition, LLC, debtor herein (“Debtor”), and files this Motion to

Strike Movants’ Supplemental Authorities in Support of Amended Motion for Relief from

Automatic Stay to Pursue Non-Bankruptcy Litigation, and would show as follows:

        1.       Wanda Bertoia and WPB Hospitality, LLC (collectively, the “Movants”) filed a

Motion for Relief from Automatic Stay to Pursue Non-Bankruptcy Litigation on May 13, 2021

(Doc. No. 41). The Movants filed an Amended Motion for Relief from Automatic Stay to Pursue

Non-Bankruptcy Litigation on July 7, 2021 (Doc. No. 68). A hearing on the Amended Motion is

set for August 13, 2021 at 10:00 a.m.

        2.       On August 12, 2021 at 10:15 p.m., less than twelve hours before the hearing, three

months after the filing of the original Motion for Relief from Automatic Stay, and five weeks after

Debtor’s Motion to Strike Movants’ Supplemental Authorities in Support of Amended Motion
for Relief from Stay to Pursue Non-Bankruptcy Litigation, Alternatively, to Continue Hearing
Page 1
 Case 20-42257          Doc 135       Filed 08/13/21 Entered 08/13/21 09:13:40                 Desc Main
                                       Document     Page 2 of 3



the filing of the Amended Motion, the Movants filed a new nine-page pleading titled Movants’

Supplemental Authorities in Support of Their Amended Motion for Relief from Automatic Stay to

Pursue Non-Bankruptcy Litigation (Doc. No. 134, the “New Brief”).

         3.      A quick scan of the New Brief indicates that it is full of new authorities and new

arguments never presented to this Court or the Debtor until this late time and date. Much of this

new material appears to be inaccurate, irrelevant, and mischaracterized. The Debtor cannot

possibly review, research, and respond to the New Brief before the scheduled hearing. This is a

blatant attempt by the Movants to conduct a “trial by ambush” which should not be allowed by the

Court.

         4.      Due to the late surprise filing of the New Brief the Debtor requests the Court to

strike the New Brief from the record. Such late filing was done without excuse.

         WHEREFORE, PREMISES CONSIDERED, the Debtor requests the Court to enter an

order striking the New Brief from the record and prohibiting the Movants from raising any of its

contents at the hearing on the Amended Motion for Relief from Automatic Stay, and granting such

other relief to which the Debtor may be entitled.

         Dated: August 13, 2021.
                                                        Respectfully submitted,

                                                          /s/ Joyce W. Lindauer
                                                        Joyce W. Lindauer
                                                        State Bar No. 21555700
                                                        Kerry S. Alleyne
                                                        State Bar No. 24066090
                                                        Guy H. Holman
                                                        State Bar No. 24095171




Debtor’s Motion to Strike Movants’ Supplemental Authorities in Support of Amended Motion
for Relief from Stay to Pursue Non-Bankruptcy Litigation, Alternatively, to Continue Hearing
Page 2
 Case 20-42257          Doc 135       Filed 08/13/21 Entered 08/13/21 09:13:40                 Desc Main
                                       Document     Page 3 of 3



                                                        Joyce W. Lindauer Attorney, PLLC
                                                        1412 Main St., Suite 500
                                                        Dallas, Texas 75202
                                                        Telephone: (972) 503-4033
                                                        Facsimile: (972) 503-4034
                                                        Email: joyce@joycelindauer.com
                                                                guy@joycelindauer.com
                                                                kerry@joycelindauer.com

                                                        ATTORNEYS FOR DEBTOR



                                     CERTIFICATE OF SERVICE
        This is to certify that on August 13, 2021, a true and correct copy of the foregoing document
was served via email pursuant to the Court’s ECF system upon the parties receiving electronic
notice in this case as indicated below.

Todd A. Hoodenpyle on behalf of Trustee                      Christopher Moser
Christopher Moser                                            cmoser@qslwm.com,
hoodenpyle@singerlevick.com,                                 cmoser@ecf.epiqsystems.com;kimhill@qsl
scotton@singerlevick.com;tguillory@singer                    wm.com;cjm@trustesolutions.net
levick.com
                                                             Christopher Moser on behalf of Trustee
Larry A. Levick on behalf of Trustee                         Christopher Moser
Christopher Moser                                            cmoser@qslwm.com,
levick@singerlevick.com,                                     cmoser@ecf.epiqsystems.com;kimhill@qsl
scotton@singerlevick.com;tguillory@singer                    wm.com;cjm@trustesolutions.net
levick.com
                                                             Patrick J. Schurr on behalf of Creditor WPB
John P Lewis, Jr. on behalf of Interested                    Hospitality, LLC
Party Brett Payton                                           patrick.schurr@solidcounsel.com,
jplewisjr@mindspring.com                                     kari.stanish@solidcounsel.com

Joyce W. Lindauer on behalf of Debtor                        Patrick J. Schurr on behalf of Creditor
Frisco Acquisition LLC                                       Wanda Bertoia
joyce@joycelindauer.com,                                     patrick.schurr@solidcounsel.com,
dian@joycelindauer.com;deann@joycelinda                      kari.stanish@solidcounsel.com
uer.com;12113@notices.nextchapterbk.com
                                                             US Trustee
                                                             USTPRegion06.TY.ECF@USDOJ.GOV


                                                          /s/ Joyce W. Lindauer
                                                        Joyce W. Lindauer

Debtor’s Motion to Strike Movants’ Supplemental Authorities in Support of Amended Motion
for Relief from Stay to Pursue Non-Bankruptcy Litigation, Alternatively, to Continue Hearing
Page 3
